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                                                            U.S. DEPARTMENT OF JUSTICE

                                                            United States Attorney
                                                            Eastern District of Missouri

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Assistdnt United Slales Atlorney                               I I 1 South lAh Steet, Rm. 20.333    Ofice: (314) 5i9-2200
                                                               St. Louis, Missouri 63102             Fax: (jl4) 539-2312

                                                               April20,2023

Neil J. Bruntrager
Bruntrager & Billings, P.C.
25 S Meramec Ave #1200
St Louis, MO 63105

          Re: Criminal Investigation
Dear Mr. Bruntrager:

        This letter is to confirm the United States of America's position as to an interview with
your client and Health and Human Services. It is my understanding that your client wishes to
provide information at this time.

         Before the United States comes to any agreement, your client must submit to an interview
with the United States. Furthermore, it must be understood that your client is not entitled to any
specific consideration just because your client has given the United States an interview. Thus, there
is presently no agreement as to the charges pending andlor the charges to be brought against your
client or any consideration your client will receive for any cooperation. Such consideration, if any
at all, will be unilaterally determined by the United States only after the interview is made at a
time that the United States deems appropriate.

        Your client must understand that mere assistance is not enough to warrant a downward
departure motion and that such a motion is warranted only for substantial assistance. Your client
further must understand that, even if the information provided is truthful and complete, it will not
entail substantial assistance if the United States regards the information to be insufficiently
significant or insufficiently helpful. The United States will not be obligated to pursue any
information it receives in the interview, if in their judgment, resources cannot or should not be
allocated to pursue any leads the information might provide.

        Your client must also understand that any violation ofthe terms ofthis document, including
criminal conduct of which the United States is not aware at the time of the signing of this
document, or which occurs after the signing of this document, or failing to provide fully truthful
information permits the United States to refuse to file a downward departure motion regardless of
the level ofassistance provided by yourself.

       Your client must also understand and agree that the United States may make derivative use
and may pursue any investigative leads suggested by any statements made by or other information
provided by your client, subject only to the limitations stated in this letter. By this agreement, the
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United States will not be required to prove an independent source for any evidence that may be
traced to this interview in any subsequent prosecution.

        In return, the United States agrees that no statements given in the interview will be used
directly against your client in any criminal case during the United States of America's case in
chief, with the following exceptions:

        (1)    Any evidence acquired in the interview could be used against your client for all
               purposes if it tends to indicate commission by your client, alone or as an
               accomplice, of any violent, assaultive crime causing injury to one or more persons.
        (2\    Pursuant to Section 1B1.8 of the Sentencing Guidelines, no statements given by
               your client at this interview will be used to enhance the Offense Level against your
               client except as provided in that Section. The United States may utilize any other
               evidence for purposes of application of the Sentencing Guidelines. The United
               States may, however, use any statements made or other information provided by
               your client to rebut evidence or arguments at sentencing materially different from
               any statements made or other information provided by your client during the
               interview.
        (3)    If, at any future trial or other proceeding in which your client is a defendant or a
               witness, your client were to testifu contrary to the substance of this interview, or
               through any manner whatsoever, either personally or through an attomey or other
               representative, including, but not limited to, opening statements, cross-examination
               of witnesses, direct examination of witnesses, or the presentation of exhibits or
               other evidence, present a position inconsistent with the information provided in the
               interview, the United States may use either as evidence in chief, or rebuttal
               evidence, any statements made or other information provided by you. This
               provision is necessary to assure that no court or jury is misled by receiving
               information or implications materially different from that provided by your client.
               In addition, we want to emphasize that the above-mentioned examples are not
               totally inclusive of the uses the United States may make of your interview.
        (4)    The United States may cross-examine your client concerning any statements made
               or other information provided during the interview and use the statements and
               information as substantive evidence to rebut any evidence offered or elicited or
               factual assertions made by or on behalf of your client at any stage of a criminal
               prosecution, including but not limited to pretrial hearings, trial, and sentencing.

       Finally, and most importantly, if your client does not now tell the truth, the promise not to
use what your client says in the interview against your client shall be null and void.

        At this time, the United States is not entering into any agreement or representing that it will
enter into any agreement. Any agreement the United States may enter into will be determined after
the interview and shall be left to the discretion of the United States.
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                                                  Sincerely,

                                                  SAYLER A. FLEMING
                                                  United States Attomey
                                                                             a




                                                  DEREK J. WISEMAN
                                                  Assistant United States Attorney


ACCEPTED:

       I, Scott Roethle, have read this letter and fully understand that there are no promises
by the United States to enter into any agreement.
                                              qlzl zs
                                                  DATE
Defendant


                                               //-,/zs
             Defendant
                                               / olnf,
